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                    EXHIBIT A
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                              CR.WXNAL CO'VR.T OJi THE Cll'Y ~NEW )'Olt.X<
                               .              CO"ONJY OFNlWYORX .

                                                                                                 l>age 1 of2
                   THE PEOPtE or T.8E STATE' OF NEW YOru<:                     FELONY
                                      -agaillSt-                               A.DA SWART
                                                                               212-335--4356
              l. Royce Corley (M 27)                     ECAB1f
                                                         l'.106260
                                                                          I
                                                           Defendant.     j



-'            follows:
                      Detective Marl.: Woods, shiel.d 00476 of the Vice Enfo.l:Ccment Di'1ision, snues w;


                      On January 12, 20l2, ~t about l8:00'hollIS at 335 East 21st Street mthe County
              .and State ofN~ York, the Defendant committed the offenses of.

              1.     Pl.230.25(1)   Promoting hostitulion in the Third Degicc
                                    (l count}
              2.     PL230.2S(2)    Promoting Prostitution in the Third Degree:
                                    (l count)




-.--.         the dcfc:ndant la!o\l4/ingly advanced a.nd :pto:fi!Ed from prostitution by managing,
              suJiavis.ing, co®"Olling, and owning, alone and in ass6ciatiou with others, a house of
              prostitu!ioo. wd ~prostitution business and enterprise involvio~ prostitution activity by
              two or mo~ prostitutes, &nd a business that s:lls travel-related seMC'.e;f; blowing that such




.--.
              services in.eiu.ck and axe intended to facilitate travel for the purpose of patronizing a
              prostiMe, iDcluding 'tD a furcignjurisdict'io!l; and the defendunt knowingly advanced and
              pcofi1cd from prostitution of a person les3 than nineteen years old.




·--.-......
                       The offeuses were coroniitted uwlertho following ciromistanc:s:

                      Depooent s1AT.CS tb.ar he is inform.eel by Undercover Shield number 132, of
              Manh11Itair South Vice Unit, that i.nfonnru:it teSJlOildcd to an online ~cort a.d on
              bi!Ckpo.gc.com advcrtlsiag proSlitui:i.011 xclated actMt:ics and met with two females at the
              above location. i:rl relatio:o to the ad, whereas feinale number one, known. to the bistrict
              Attoroey's·Office, offered informant.oral sex in excba:nge for Sl60.00 and frnu1k QIIJllber
              two, known to Uie District Attorney's Office, offered informnnt1ntexcoll:tse for $160.00.
              The female idcr.itified in lhe ad Was female numbcro~e. A searyb. of bao'kpege.£cnn
              publicly av!lilablc :records revealed a second online ad for female number 2 for escort
              related actiTitic:s.




                                    89lV'iEE-HZ-l: U.j     O:J Ml /Jlll"ISIO
            Case 1:15-cv-09621-KPF Document 90-1 Filed 07/13/18 Page 3 of 3




                            QUi\l.llNM.·eO~T.oF 1m: CllY OF NEW YORK
                                          £00NtY Oli' NEW Y'OltK.

                                                                                              Pago2 of2
             THE P:EOPIE OF THE STATE OF NEW YORK                       FELONY
                                   -:igainst-                           ADA STUART
                                                                        212-3354356
           1. Royce Corlty (M: ·'J.1)                .ECAB#
                                                      130626()


                                                        Defendant.


                   OcponC'llt stuteS that both fcmalos were atr<'stod and that upon obllining pedigree
           infomiation from boili fe:m.alcs, fcmalr: number two is 17 years old. Deponent fut'iher
           stat~ th.at he is infOIID.ed by the New York City Department of Vital Statistics th.at a bUth
           certificate obtained for female number twu ~lso indicates that she is 17 years old.
                       ..
                   Depooi.ent stales that he is infonncd by a custodian of records for backpago.com
           that a credit c~d cudmg 6095 paid'forthc ad fof female nUmber two on Jariuaxy 12. 2012
           and that.the.IP address used to pay for the ad.on both January 12, 2012 and January 11,
           2012 W3S ISS.57.150;68. Deponent further states that he is i:nfu:tmed by info=ant that
           that the IP 6ddross used to purchase the above mentioned ad for female number one on
           Januaxy 10, ~012 was also 158.57.150.6&.



--
                  Deponent stat~ that he is ix-foxmcd by a rostodian of records for M\micipal Credit
           Union that ·credit card en~ 6095 iS registeroo under the name: R<>ycc Corley.

                 · DepOnent states tbaJ. he is informed by AXocrican R.egjstry ofinteme.t Numbers
           that the IP· addi:ess. of 158.57.150.68 belongsm Con Edison in Now York and that

 -         deponent is furthor informed by Con Edison that Royce Corley is an employee of Con



 -
           Edison.·




 -·.-...
                  Dtp<>nent state!: thar he recovered a booklet from the defendant on Januazy 25,
_.         2012 and: that the booklet contained pages of n!llDes of girls, ~ith hoUIS associated, and
           xnoney eamed; il!ld,tha.t the booklet con\ained names of the two girls referenced above.
           Deponent states that mbis expetieoce as a Vice Detective this book!~ rcpre.S~ts
           evidence that the defend.ant is supervising and managing a prostitution business.




           False .sta.teJn~ts owlc-Jitt~ llR ~hable a.u d.a.u A misdemeanor pnnl.Wlt to
           s«tion 216.45 Clfthe :pen11l li1w.


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                                                                  ate    d Time
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